               Case 2:08-cv-01241-JAM-EFB Document 250 Filed 09/14/09 Page 1 of 4


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           7   Attorneys for Defendants

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           9                          IN THE UNITED STATES DISTRICT COURT

          10                       FOR THE EASTERN DISTRICT OF CALIFORNIA

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                                                                     2:08-CV-01241-JAM-EFB
          14   VIDEO GAMING TECHNOLOGIES,
               INC., dba VGT, Inc., a Tennessee                        STIPULATION AND ORDER
          15   Corporation, et al.,                                    EXTENDING TIME UNDER
                                                                       SCHEDULING ORDER
          16                                       Plaintiffs,

          17                v.

          18   BUREAU OF GAMBLING CONTROL, a
               law enforcement division of the California             ASSIGNED FOR ALL PURPOSES TO:
          19   Department of Justice; MATHEW J.                        HONORABLE JOHN A. MENDEZ
               CAMPOY, in his official capacity as the
          20   Acting Chief of the Bureau of Gambling
               Control; and JOHN MCGINNESS, in His
          21   Official Capacity as the Sacramento County
               Sheriff,
          22
                                                 Defendants.
          23
                                                                     Courtroom: 6
          24                                                         Judge      The Honorable John A. Mendez
                                                                     Trial Date August 23, 2010
          25        AND RELATED INTERVENORS.
                                                                     Action Filed: June 4, 2008
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                             Stipulation And Order Extending Time Under Scheduling Order (2:08-CV-01241-JAM-EFB)


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               Case 2:08-cv-01241-JAM-EFB Document 250 Filed 09/14/09 Page 2 of 4


           1         Due to the appeal that is now pending before the Ninth Circuit Court of Appeals in the

           2   matter of Video Gaming Technologies v. Bureau of Gambling Control, et al., (USCA Case No.

           3   09-16092), and because the appeal has the potential to dispose of this case, the parties to this

           4   action on August 31, 2009, stipulated to extending certain deadlines and benchmark dates under

           5   this Court’s Scheduling Order entered on or about October 7, 2008. Thereafter, counsel for

           6   defendants Bureau of Gambling Control and Mathew Campoy was made aware of significant

           7   family obligations that conflicted with the August 23, 2010 trial date, and all counsel became

           8   aware that the other various benchmark dates and deadlines had not been commensurately set out

           9   in light of the new trial date to allow for the full practical benefits of the new trial date.
          10   Therefore, the parties stipulate as follows:
          11         •     Last day to complete discovery – March 29, 2010;
          12         •     Last day for filing of dispositive motions – May 19, 2010;
          13         •     Last day for hearing of dispositive motions – June 16, 2010 (to be heard at 9:00 a.m.);
          14         •     Joint Pretrial Statement due July 7, 2010;
          15         •     Pre-Trial Conference – July 14, 2010 at 3:00 p.m.; and
          16         •     Trial Date – August 30, 2010 at 9:00 a.m.
          17         •     All other terms and conditions of the October 7, 2008 scheduling order will remain in
          18             effect.
          19
               Dated: September 11, 2009                       OFFICE OF THE ATTORNEY GENERAL JR.
          20                                                   Attorney General of California
                                                               SARA J. DRAKE
          21                                                   Supervising Deputy Attorney General
          22                                                   /s/ WILLIAM L. WILLIAMS, JR.
          23                                                   BY:
                                                                      WILLIAM L. WILLIAMS, JR.
          24                                                          Deputy Attorney General

          25                                                   ATTORNEYS FOR DEFENDANTS BUREAU OF
                                                               GAMBLING CONTROL AND MATHEW CAMPOY
          26

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                                Stipulation And Order Extending Time Under Scheduling Order (2:08-CV-01241-JAM-EFB)


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               Case 2:08-cv-01241-JAM-EFB Document 250 Filed 09/14/09 Page 3 of 4


           1
               Dated: September 11, 2009                 SACRAMENTO COUNTY COUNSEL’S OFFICE
           2
                                                         /s/ JOHN EDWARD REED
           3
                                                         BY:________________________________
           4                                                    JOHN EDWARD REED

           5                                             ATTORNEYS FOR DEFENDANT JOHN
                                                         MCGINNISS
           6

           7
               Dated: September 11, 2009                 NOSSAMAN LLP
           8
                                                         /s/ SOPHIE-NICOLE FROELICH
           9                                             BY:________________________________
                                                                SOPHIE-NICOLE FROELICH
          10
                                                         ATTORNEYS FOR PLAINTIFFS AND
          11                                             INTERVENORS UNITED CEREBRAL PALSY OF
                                                         GREATER SACRAMENTO, A CALIFORNIA
          12                                             NON-PROFIT CORPORATION; WIND YOUTH
                                                         SERVICES, A CALIFORNIA NON-PROFIT
          13                                             CORPORATION; ROBERT FOSS, AN
                                                         INDIVIDUAL; AND CAPITAL BINGO, INC., A
          14                                             CALIFORNIA CORPORATION; HAGGIN
                                                         GRANT POST NO. 521, THE AMERICAN
          15                                             LEGION DEPARTMENT OF CALIFORNIA, A
                                                         CALIFORNIA NON-PROFIT CORPORATION;
          16                                             CASA ROBLE HIGH SCHOOL RAMSEMEN,
                                                         INC., A CALIFORNIA NON-PROFIT
          17                                             CORPORATION; MARY BROWN, AN
                                                         INDIVIDUAL
          18

          19
               Dated: September 11, 2009                 LAW OFFICE OF K. GREG PETERSON
          20
                                                         /s/ KENNETH GREGORY PETERSON.
          21
                                                         BY:________________________________
          22                                                    KENNETH GREGORY PETERSON
          23                                             ATTORNEYS FOR INTERVENOR PLAINTIFFS
                                                         EL CAMINO ATHLETIC BOOSTER CLUB
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                             Stipulation And Order Extending Time Under Scheduling Order (2:08-CV-01241-JAM-EFB)


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           1                                                 ORDER
           2         Based upon the stipulation of the parties and for good cause shown, the Court orders that

           3   the deadlines/dates under the Scheduling Order dated October 7, 2008, as amended by the order

           4   of this Court on August 31, 2009, are to be extended as follows:

           5         •     Last day to complete discovery – March 29, 2010;

           6         •     Last day for filing of dispositive motions – May 19, 2010;

           7         •     Last day for hearing of dispositive motions – June 16, 2010 (to be heard at 9:00 a.m.);

           8         •     Joint Pretrial Statement due July 7, 2010;

           9         •     Pre-Trial Conference – July 14, 2010 at 3:00 p.m.; and

          10         •     Trial Date – August 30, 2010 at 9:00 a.m.

          11         •     All other terms and conditions of the October 7, 2008 scheduling order will remain in

          12             effect.

          13         IT IS SO ORDERED.

          14

          15   Dated: September 11, 2009                  /s/ John A. Mendez_____________
          16                                              HON. JOHN A. MENDEZ
                                                          United States District Court Judge
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                               Stipulation And Order Extending Time Under Scheduling Order (2:08-CV-01241-JAM-EFB)


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